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 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION

11   TODD ASHKER, et al.,                                   C 09-05796 CW

12                                          Plaintiffs, [PROPOSED] ORDER GRANTING
                                                        FINAL APPROVAL OF CLASS ACTION
13                  v.                                  SETTLEMENT AGREEMENT

14
     GOVERNOR OF THE STATE OF
15   CALIFORNIA, et al.,

16                                        Defendants.

17

18         This civil-rights class-action case concerns the California Department of Corrections and

19   Rehabilitation’s (CDCR) policies and practices related to gang validation and management and its

20   use of segregated housing, including the Security Housing Unit (SHU) at Pelican Bay State

21   Prison. Plaintiffs claim that CDCR’s gang validation policies did not provide sufficient due

22   process and that confinement in Pelican Bay’s SHU for ten or more years violates the United

23   States Constitution.

24         The parties have entered into a settlement agreement (Settlement Agreement or Agreement)

25   (J. Lobel Decl. Ex. A) that would settle all claims for relief asserted in this case. The Court

26   granted preliminary approval of the Agreement on October 14, 2015. (ECF No. 445.)

27   Subsequently, Court-approved notice was timely disseminated to the classes. (ECF No. 456.)

28   The Court has thoroughly considered all comments and objections filed during the notice period.

     [PROPOSED] ORDER GRANTING FINAL APPROVAL                                      CASE NO. C 09-05796 CW
     CLASS ACTION SETTLEMENT AGREEMENT                  1
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 1   On January 12, 2016, the parties filed a Joint Motion for Final Approval of Class Action
 2   Settlement Agreement. The parties’ Joint Motion seeks an order providing that the Court: (1)
 3   grant final approval of the Settlement Agreement; (2) retain jurisdiction to enforce the
 4   Agreement; and (3) stay all proceedings pending completion of the Agreement’s terms. On
 5   January 26, 2016, the Court held a Final Fairness Hearing at which counsel for Plaintiffs and
 6   Defendants presented argument, and during which the Court considered whether the parties’
 7   Agreement is fair, reasonable, and adequate.
 8         The Court has presided over the proceedings in the above-captioned action and has
 9   reviewed all the pleadings, records, and papers on file. The Court has reviewed the Joint Motion
10   for Final Approval, along with the Settlement Agreement and supporting documents, and has
11   considered the parties’ arguments concerning the settlement of this class action.
12         Therefore, with good cause appearing, the Court hereby orders as follows:
13          1.   For the reasons stated in the Joint Motion for Final Approval, the Court finds, under
14   Rule 23(e) of the Federal Rules of Civil Procedure, that: (a) all notice requirements have been
15   fulfilled, and that notice was successfully directed in a reasonable manner to class members; and
16   (b) the Settlement Agreement is fair, adequate, and reasonable. On that basis, final approval of
17   the Settlement Agreement is hereby GRANTED, and the Agreement is incorporated by reference.
18          2.   The Court finds that, for purposes of settlement only, the Settlement Agreement
19   meets the requirements of 18 U.S.C. § 3626(a)(1).
20          3.   The stay of all proceedings in this case is continued pending the completion of the
21   terms of the Settlement Agreement.
22          4.   The Court retains jurisdiction of this matter to enforce the Agreement’s terms.
23          IT IS SO ORDERED.
24
     Dated: January 26 2016
            __________,                             _______________________________________
25                                                        The Honorable Claudia Wilken
                                                        United States District Court Judge
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     [PROPOSED] ORDER GRANTING FINAL APPROVAL                                     CASE NO. C 09-05796 CW
     CLASS ACTION SETTLEMENT AGREEMENT                2
